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                           IN THE UNITED STATES DISTRICT
                         COURT FOR THE NORTHERN DISTRICT
                           OF TEXAS FORT WORTH DIVISION

                                                 §
  ROBERT (BOB) ROSS,                             §
                                                 §      Civil Action No. 4:22-cv-343-Y
            Plaintiff/Counterclaim               §
            Defendant,                           §      Judge Terry R. Means
                                                 §
  v.                                             §
                                                 §
  ASSOCIATION OF PROFESSIONAL                    §
  FLIGHT ATTENDANTS, et al.,                     §
                                                 §
            Defendants/Counterclaim
            Plaintiff.

PLAINTIFF ROBERT “BOB” ROSS’S MOTION TO QUASH DEFENDANTS’ NOTICE
 TO TAKE DEPOSITION AND MOTION FOR TEMPORARY PROTECTIVE ORDER
                       AND BRIEF IN SUPPORT


       COMES NOW Robert “Bob” Ross (“Ross”), Plaintiff, pursuant to Federal Rule of Civil

Procedure 26(c) and Local Rules 7.1, 7.2 and 53.1, files this Motion to Quash Defendants, the

Association of Professional Flight Attendants (“APFA” or “the union”), Julie Hedrick’s and Erik

Harris’s(collectively “Defendants”) Notice of Deposition of Plaintiff, Robert “Bob” Ross on October

25, 2023; Motion for Protective Order, as follows:

                                   I.     Factual Background

       1.      In this lawsuit, Plaintiff alleges his right to a fair hearing as guaranteed under the

Labor Management Reporting and Disclosure Act (“LMRDA”) 29 U.S.C. § 411 (a)(5), which led

to the union wrongfully disciplining him and banning him from running for public office within

the union—a violation of LMRDA 29 U.S.C. § 529. Plaintiff argues that this is a result of

exercising his free speech and association rights under the LMRDA 29 U.S.C. § 411 (a)(2) as he




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is a member of the opposing political faction to the current leadership within APFA. 1

         2.       Defendant served 99 pages of documents in response to Plaintiff’s requests on

September 1, 2023. Defendant withheld multiple communications, particularly notable is the

absence of communications from Julie Hedrick. On September 13, 2023, Defendants’ counsel

produced additional discovery responsive of Plaintiff’s Second Request for Production, but again

a substantial number of communications were withheld, most notably from Julie Hedrick.

         3.       On August 31, 2023 and September 6, 2023, Defendants’ counsel emailed

Plaintiff’s counsel requesting dates to take Plaintiff’s deposition. (Appendix 7-8). Plaintiff’s

counsel responded on September 6, 2023 that inquiry had been made with Plaintiff as to whether

October 24-26 would be agreeable provided it was held virtually, and inquired on dates for

depositions with Defendants—believing that Defendants’ discovery production due on September

15, 2023 would be comprehensive (Appendix 6-7). Defendants’ counsel requested to move the

depositions based on his preference to depose Plaintiff before Defendants, then proposed Plaintiff

be deposed in-person, while Plaintiff’s counsel appeared virtually. (Appendix 6). In response, the

undersigned counsel informed Defendants’ counsel that Plaintiff is not comfortable being deposed

outside the presence of his attorney. (Appendix 5-6). Plaintiff’s counsel again, confirmed that

Plaintiff would be able to appear virtually, or, in the alternative that Plaintiff would agree to a

motion to extend the discovery period to allow for additional time to conduct depositions.

(Appendix 5-6). Defendants opposed any motion to extend the discovery deadline.

         4.       On September 1, 2023 and September 13, 2023, Defendants counsel served his



1
  The “Ross Administration” consists of Robert “Bob” Ross (former AFPA National President) Nena Martin (former
APFA Vice-President) Marcy Dunaway (former APFA National Secretary) and Eugenio Vargas (former APFA
National Treasurer). The Court should note that in August of 2023 the APFA Board of Directors ordered financial
audits of Marcy Dunaway and Nena Martin’s expenditures while in office. (Appendix 41-43). Upon the filing of this
case, investigations into financial expenditures were launched against multiple supporters of the Ross Administration,
including Heidi Morgan. (Appendix 21-39). On September 21, 2023 a complaint was submitted against Heidi Morgan
with the Miami Base President for her public statement as a union member back in June of 2019. In this statement
Morgan expressed her opposition to AFA General Counsel, Joe Burns acting as negotiator for APFA.




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responses to Plaintiff’s requests for production, and again upon review, multiple communications

were withheld. (Appendix 1-2).              On September 15, 2023, Defendants’ counsel telephoned

Plaintiff’s counsel to discuss pending issues with discovery. On this call, Defendants’ counsel

informed Plaintiff’s counsel he was serving deposition notices for an in-person deposition of Ross

on October 25, 2023, ignoring Plaintiff’s prior objections. On this phone call, Defendants’

counsel, did not confirm whether Plaintiff was available in-person, did not discuss any other

alternative dates, nor discuss any possible solutions to any of Plaintiff’s objections. (Appendix 1-

2). Plaintiff’s counsel was silent in response to this statement, as Plaintiff’s counsel previously

advised Defendants’ counsel she would have to take this issue before the court if they could not

agree. (Appendix 1-2). On the call, Defendants’ counsel further stated that his client was opposed

to extending the discovery period and opposed to rescheduling depositions for a more appropriate

time.2

         5.      Plaintiff received Defendants’ Notice of Deposition on September 15, 2023.

Plaintiff objected on record on September 19, 2023 and files this Motion to Quash within a

reasonable time period from the date the notice was served. Defendants’ Notice of Deposition is

attached hereto in the incorporated Appendix and directs Plaintiff, Robert “Bob” Ross that Defendants’

Counsel commands Ross to appear in-person at a deposition on October 25, 2023. (Appendix 11-14).

                  II.      Objections to Defendants’ Notice of Deposition to Plaintiff
         6.      Plaintiff asserts the following substantive objections to Defendants’ Notice of

Deposition. Plaintiff objects and asserts that Defendants seeks to harass and abuse Plaintiff through

serving a Notice of Deposition for his appearance in-person rather than virtually. Despite that

Ross resides in California, despite knowledge of Plaintiff’s counsel’s request to depose Plaintiff


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 The Court should further note that Flight Attendants must submit their monthly flight schedules for October of 2023
on or before 12:00 PM C.S.T. on September 15, 2023. Defendants’ Notice of Deposition were received at 12:38 PM
C.S.T. on September 15, 2023. (Appendix 10).




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virtually, and despite that without confirmation of the date, time and manner of the deposition

Plaintiff was scheduled to be out of the country. 3 Further, Plaintiff fears this deposition is sought

to harass and embarrass Plaintiff and the union members that support his political faction. APFA

holds elections for new National Officers from December 2023 to January 2024.

                                               III.      Argument

        7.       Under Federal Rule of Civil Procedure 26(c) the Court is authorized to protect

parties from discovery sought to harass, embarrass, oppress, annoy, or cause undue burned or

expense. (Fed. R. Civ. Proc. § 26(c)).                A prerequisite to the issuance of a protective order

governing discovery is a showing of “good cause.” (Fed. R. Civ. P. § 26(c); Pansy v. Borough of

Stroudsburg, 23 F.3d 772, (3rd Cir. 1994)). Upon a showing of good cause, the Court is entitled

to "make any order which justice requires to protect a party or person from annoyance,

embarrassment, oppression, or undue burden or expense.” (Fed. R. Civ. Proc. § 26(c)).

        8.       “Good cause” exists when discovery will result in a clearly defined and serious

injury to the party seeking the protective order. (Pansy, 23 F.3d at 786). “In determining good

cause, the court must balance the risk of injury without the protective order and the requesting

party’s need for information. The court has wide discretion in determining the scope of a protective

order.” (Blanchard & Co., Inc. v. Barrick Gold Corp., No. 02-3721, slip op at 8 (E.D. 37 La. Apr.

5, 2004)) (Appendix 44-75).

        9.       A date upon which the deposition would take place in person was never agreed

between counsel for both parties. Plaintiff’s counsel suggested October 24-26, 2023 as dates for



3
  The undersigned counsel’s spouse suffers from Stage III Chronic Lymphocytic Leukemia/Small Lymphocytic
Lymphoma – an incurable form of blood cancer that makes the patient at high-risk of a severe response to the
Covid-19 virus. Due to the updated strains of the virus and recent release of the updated Coronavirus vaccinations
as of September 14, 2023, counsel’s immediate family were directed to reduce as much exposure to the public as
possible until the end of 2023. (Appendix 15-19)




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virtual depositions, but not in-person depositions. (Appendix 7-8). Defendants counsel then

suggested October 17-19, 2023 in light of Plaintiff’s request to depose Defendants, and Plaintiff’s

Counsel advised Plaintiff to continue as normal until such time as a date is confirmed. (Appendix

7). Plaintiff’s Counsel then advised Defendants’ Counsel that Plaintiff would be available

virtually. (Appendix 6). No final resolution was ever made as to the date or manner of the

deposition. Plaintiff will be out of the country on October 25, 2023 working as a flight attendant

for American Airlines, Inc. Defendants have access to every AFPA member’s confidential flight

schedule, their timelines, and whereabouts on any given date from American Airlines, Inc. For

Defendants to select dates when Plaintiff is out of the country is indicative of the measures this

union will take to intimidate Plaintiff for the sake of the election process. Therefore, the court

should quash the deposition scheduled for this date based on the lack of a mutually agreeable date,

time, and manner of the deposition.

       10.     Defendants continue to withhold a substantial number of documents in discovery

pertinent to the matter before this Court—including standard insurance and surety bond

documents. (Appendix 1-2). Meanwhile, the Plaintiff delivered all documents in his possession to

Defendants. Now, Defendants seek a deposition of the Plaintiff. Plaintiff, however, is unable to

conduct depositions or properly prepare for trial due to Defendants’ lack of document production.

       11.     Currently, Plaintiff is scheduled to be deposed during the period in which

announcements for those candidates willing-to-serve as APFA National Officers will announce

their intent to run in the election. Those union members that are nominated and willing to serve

begin to campaign during the month of December, at which time candidates’ merit, integrity, and

abilities are heavily debated. Democracy functions through the campaign and election processes

within any given union, and as held by the Supreme Court, LMRDA was designed to “guarantee




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free and democratic union elections similar to the model of our political elections.” (Marshall v.

Local 1402, Int’l. Longshoremen’s Ass’n of Tampa. Fla. and Vicinity AFL-CIO, 617 F. 2d 96 (5th

Cir. 1980) (citing Steelworkers v. Usery, 429 U.S. 305, (1977)).

        13.       Meanwhile, the union will begin its election process for new National Officers—

the primary leadership positions within the union. The integrity of the election process is vital to

the functionality of a union democracy.

                  “The purpose of the [LMRDA] as a whole is not only to stop and prevent
                  outrageous conduct by thugs and gangsters but also to stop lesser forms of
                  objectionable conduct by those in positions of trust and to protect democratic
                  processes within union organizations. . . . (T)he rights of individual members of a
                  labor union are protected by federal statute with a view to allowing those members
                  to conduct local matters with a minimum of outside interference. In short, local
                  affairs are to be governed by local members under democratic processes.”
                  McDonald v. Oliver, 525 F.2d 1217 (5th Cir. 1976) (citing United Brotherhood of
                  Carpenters and Joiners of America v. Brown, 343 F.2d 872, 882 (10 Cir. 1965)).

        14.       Harassment and abuse of the Ross Administration has escalated since the filing of

this matter before the Court.

              •   In July of 2022, investigations were made into the financial expenditures of
                  multiple witnesses that testified on behalf of the Ross Administration during their
                  disciplinary arbitrations, including Heidi Morgan. (Appendix 40).
              •   In August of 2023, Nena Martin and Marcy Dunaway were the subject of additional
                  audits. (Appendix 41-43). The basis for conducting audits comes almost a year
                  after the initial request was made. 4 However, the union waited until August of 2023
                  before conducting the audit.
              •   On September 21, 2023, a complaint was submitted against Heidi Morgan (former
                  union representative for Eugenio Vargas and Nena Martin) for a public social media
                  post made over three years ago. (Appendix 32-39). Ironically, the post complained
                  of AFA General Counsel Joe Burns being hired to represent APFA in negotiating
                  its new Collective Bargaining Agreement.
              •   On September 24, 2023, Melissa Chinery-Burns posted a statement on social media
                  arguing the Plaintiff had something to hide because he opposed this deposition, and
                  that he was banned from running or holding political office.

        15.       Most importantly, on September 24, 2023 Plaintiff’s counsel received a call from



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 Melissa Chinery-Burns (spouse of AFA General Counsel, Joe Burns) requested audits on Nena Martin and Marcy
Dunaway in November of 2022. No other administration has been audited by APFA to date.




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another union member regarding a social media post made by Melissa Chinery-Burns (Appendix

20). This union member was concerned about a social media post because it seemed to have a

direct effect on the electoral process of the union. Ms. Chinery-Burns posted a portion of

Plaintiff’s Notice of Objection (Docket No. 120) and contemplated whether Plaintiff feared being

deposed because he had something to hide. Furthermore, it lays out the union’s intent to bar

Plaintiff from running for office if he chose to do so based on the Arbitration Award’s ban for

life.5

         16.      The Court should note, the greater concern is that Ms. Chinery-Burns has begun to

set the stage to exploit Plaintiff with his own deposition testimony if he does run. (Appendix 20).

There can be no doubt that if a deposition is taken just before elections, it will inevitably affect the

campaign and election process for this union. Plaintiff seeks the protection of this court to allow

Plaintiff, and his political faction, the opportunity to run unencumbered by the discovery abuse

Defendants clearly intend. The harm suffered by waiting three months to conduct deposition is

minimal compared to the risk of harm to the union’s democratic election process.

         17.      The Court’s should protect the integrity of the union’s democratic process. The

leadership of both political factions within the union are parties to this case, thus the risk of harm

is posed to all parties, not just Plaintiff. Moreover the harm done by suspending depositions for

three months is minimal considering Plaintiff has already testified in his Disciplinary Arbitration

hearing and is not likely to change his testimony.

         18.      Bob Ross won the National Presidency in 2016 with a record-breaking number of


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  The court should note that Ms. Chinery-Burns has access to information that would otherwise be confidential. She
received copies of the confidential settlement offers made by Plaintiff to Defendants during settlement conferences,
and on May 10, 2023 she posted the details of these confidential settlement offers on her Facebook group page.
Plaintiff’s concerned that deposition even if under seal would likely result in confidential information being leaked to
Ms. Chinery-Burns based on her husband’s, Joe Burns, close association with opposing counsel and subsequently
posted on her public Facebook page.




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votes. If Ross decides to run for office again, he will be a notable contender to win the APFA

National Presidency. 6 National Officers serve a term of four years. The next election for new

National Officers will be held in January of 2024 and the new officers will take office on April 1,

2024. The risk of harm is substantial to the union if discovery abuse is used to affect its outcome.

                                     IV.      Motion for Protective Order

            19.    Pursuant to Federal Rules of Civil Procedure 26(c). Plaintiff requests an Order be

entered protecting Plaintiff from the risks of "harassment, annoyance, and abuse" caused by

Defendants’ deposition of Plaintiff during the union’s election campaign. Plaintiff requests that the

court enter a protective order to require depositions be conducted after the elections are complete.


                                                    PRAYER

WHEREFORE, PREMISE CONSIDERED, Plaintiff prays that his Motion to Quash

Defendants’ Notice of Deposition and Motion for Protective Order be granted and that the Court enter

an order quashing the deposition notice and enters a protective order requiring depositions of Plaintiff

be scheduled after the union’s election is complete, and for such other and further relief, either at

law or in equity, to which Plaintiff may be justly entitled.

                                                                   Respectfully submitted,
                                                                   KD PHILLIPS LAW FIRM, PLLC

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                                                                       ATTORNEY FOR PLAINTIFF

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    The Court should note that Bob Ross won the APFA National Presidential Election in 2016 by 70.55% of the vote.




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                             CERTIFICATE OF CONFERENCE

       I, Kerri Phillips, attorney for Plaintiff Robert “Bob” Ross, hereby certify that on the 22cd

day of September 2023, I emailed for purposes of conference with Jeff Bartos, James Sanford,

Charlette Matts, and Michael Rake, counsel for Defendants, to inform each of them of the filing

of this Motion. Jeff Bartos responded on behalf of APFA, Hedrick and Harris that his clients are

opposed to the filing of this motion. To date no response was received from Michael Rake.




                                CERTIFICATE OF SERVICE

         I certify that true and correct copy of this document was sent to all counsel of record,
  hereunder listed via ECF filing on this the 25th day of September 2023.

       Jeff Bartos
       James Sanford
       Charlette Matts
       Michael Rake


                                                               /s/ Kerri Phillips
                                                              Kerri Phillips




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